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                     UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                                 HARRISONBURG DIVISION


_______________________________________
                                       )
UNITED STATES OF AMERICA               )                           Case No. 5:13cr00025-8
                                       )
v.                                     )                                 REPORT AND
                                       )                              RECOMMENDATION
                                       )
ASHTON GRACE KERN,                     )
                                       )                        By:     Hon. James G. Welsh
             Defendant                 )                                U.S. Magistrate Judge
                                       )
______________________________________ )



       On October 30, 2014 came the United States, by counsel, and came also the defendant, in

her own proper person and by her counsel. At which time counsel for the parties jointly

represented that the parties had entered into a plea agreement, pursuant to Rule 11 of the Federal

Rules of Criminal Procedure. In accordance with the provisions of Title 28 U.S.C. § 636(b)(3)

and upon the defendant’s informed and written consent, this case was referred to the undersigned

for the purpose of conducting a plea hearing (docket #223).

       As set forth in more detail in the Third Superseding Indictment (docket #122), the Grand

Jury previously returned a multiple count, multiple defendant, Third Superseding Indictment

(“the Indictment”) charging the above-named defendant in Count One that beginning on or

about the Summer of 2011 and continuing to September 2013, in the Western Judicial District of

Virginia and elsewhere, this defendant and others, known and unknown, did knowingly and

intentionally combine, conspire, confederate and agree with other persons, both known and

unknown to the Grand Jury, to knowingly and intentionally distribute and possess with intent to

distribute a mixture or substance containing a detectable amount of heroin, a Schedule I
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controlled substance, and to distribute and possess with intent to distribute a mixture or

substance containing a detectable amount of cocaine base, also known as “crack,” a Schedule II

controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), All in violation of

21 U.S.C. § 846. In addition, the Indictment contains a Notice of Forfeiture apprising the

above-named defendant that certain of her property is subject to forfeiture upon conviction of the

offense alleged against her.

       The Rule 11 plea hearing was recorded by a court reporter. See Rule 11(g). The United

States was represented by Donald R. Wolthuis, Assistant United States Attorney. The defendant

was at all times present in person and with her counsel, Michael Hemenway Inquiry was made

to the defendant pursuant to Rule 11(b) and (c); the government presented an oral proffer of

evidence for the purpose of establishing an independent basis for the plea, and the defendant

entered a plea of guilty to the felony offense charged in Count One of the Indictment.

                  DEFENDANT=S RESPONSES TO RULE 11 INQUIRIES

       After the defendant was placed under oath, she was addressed personally in open court.

She stated she understood her obligation to testify truthfully in all respects under penalty of

perjury, and she understood the government=s right in a prosecution for perjury or false statement

to use against her any statement that she gives under oath. See Rule 11(b)(1)(A)

       The defendant testified to the following personal facts: her full legal name is ASHTON

GRACE KERN; she is twenty-three (23) years of age, and she has a high school education. She

stated she understood she was in court for the purpose of entering a plea of guilty to a felony

offense which she could not later withdraw. Upon inquiry, the defendant=s attorney represented

that he had no reservations about the defendant=s competency to enter a plea of guilty to the

charged felony offense set forth in Count One of the Indictment.




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       The defendant acknowledged that she had received a copy of the Indictment, and it had

been fully explained to her. She stated that she had discussed the charge with her attorney and

had been given enough time to do so. She stated she understood the nature of the charge against

her in the Indictment and specifically understood it charged a felony offense and contained a

forfeiture notice. See Rule 11(b)(1)(G). She testified she had discussed any possible defenses

with her attorney, and she had been given adequate time to prepare any defenses she might have

to the charge. She stated that her decision to enter a plea of guilty to Count One had been made

after consulting with her attorney. She stated she was fully satisfied with the services of her

attorney, and it was her intention and desire to enter a plea of guilty to Count One pursuant to the

terms of the plea agreement.

       The defendant confirmed that she fully recognized and understood her right to have the

Rule 11 hearing conducted by a United States district judge, and she gave her verbal and written

consent to proceed with the hearing before the undersigned United States magistrate judge. The

defendant=s written consent was filed and made a part of the record.

       Counsel for the parties having previously informed the court that the defendant=s

proposed plea was to be made pursuant to a written plea agreement (see Rule 11(c)(2)), counsel

for the government next set forth the government=s understanding of the plea agreement in some

detail: including the agreement for the defendant to enter a plea of guilty to Count One of the

Information charging her with participating in a criminal conspiracy to distribute and to possess

with intent to distribute both “crack” cocaine and heroin in violation of 21 U.S.C. §§ 841(a)(1)

and (b)(1)(C) [& A.1.]; the defendant=s express acknowledgment of the maximum statutory

penalty for the offense charged in Count One [& A.1.]; the defendant=s understanding that she

may be required to pay fees for her incarceration and supervised release, that she may be

required to pay restitution, and that her assets may be subject to forfeiture [&& A.1. and B.4.];


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the defendant=s admission of her factual guilt to the offense charged in Count One of the

Indictment [& A.1.]; the defendant=s various monetary obligations, including payment of a

$100.00 special assessment and the related restitution and assessment provisions [&& A.1 and

B.4.a.]; the defendant=s express acknowledgment of the trial rights waived by entry of a

voluntary plea of guilty [& A.2]; the agreement=s provision outlining the fact that sentencing is

within the sole discretion of the court Asubject to its consideration@ of the Sentencing Guidelines

and the factors set forth in 18 U.S.C. § 3553(a) [& B.1.]; the defendant=s express recognition that

she would not be allowed to withdraw her guilty plea irrespective of the sentence imposed by the

court [& B.1.]; the parties’ agreement for purposes of guideline sections 2D1.1 and 1B1.3 that

the exact drug weight is a factual matter to be determined by the court, and the defendant’s

agreement to be bound by that factual finding [B.2.]; the acceptance of responsibility provision 1

[¶ B.2.]; the substantial assistance provision 2 [& B.3.]; the defendant=s monetary, financial
                                             3
disclosure and related obligation                [¶ B.4.a.-c.]; the terms of the defendant=s express

relinquishment of her waivable rights of direct appeal [& C.1.]; the terms of the defendant=s

express relinquishment of his waivable rights to make any collateral attack on any judgment or

sentence imposed by the court [& C.2.]; the defendant=s abandonment of any seized property [&

C.5.]; the defendant=s waiver of all rights to access of investigation or prosecution records or

information [&C.3.]; the defendant=s acknowledgment that she had been effectively represented

in this case [& F.3.]; the parties’ express acknowledgment that the written plea agreement

constituted the entire understanding between the parties [&D.2.]; the defendant’s satisfaction


1
  Counsel for the government noted for the record that the defendant had earned full acceptance of responsibility for
her conduct.
2
 Counsel for the government also noted for the record that the defendant was “on track” for receipt of a sentencing
departure under this provision of the plea agreement.
3
  Counsel for the government additionally noted for the record that administrative forfeiture was not being sought in
this case.

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with the advice and assistance of his attorney [§ D.3.]; and the substance of the agreement=s other

terms and provisions. See Rule 11(b)(1)(B)B(O) and 11(c)(1)B(3).

       After which, the defendant was asked what her understanding of the terms of the

agreement was, and she testified that her understanding was precisely the same as that set forth

by the government=s attorney.       Counsel for the defendant, likewise, represented that his

understanding was the same, and he further represented that the plea agreement had been fully

discussed and its terms reviewed with the defendant, and he was satisfied that the defendant

understood all of its terms.

       The defendant was then shown the plea agreement; and she affirmed it to be her signature

on the document. She further testified that no one had made any other, different or additional

promise or assurance of any kind in an effort to induce her to enter a plea of guilty and that no

one had attempted in any way to force her to plead guilty in this case. The agreement was then

received, filed and made a part of the record, and it was noted for the record that the written plea

agreement constitutes the best evidence of its terms, and as such it Aspeaks for itself.@

       After counsel for the government outlined the range of punishment for the offense

charged in Count One of the Indictment the defendant acknowledged that she understood the

maximum penalty provided by law for the said offense was confinement in a federal penitentiary

for a term of twenty (20) years, a fine of $1,000.000.00 and a term of supervised release or at

least three (3) years. See Rule 11(b)(1)(H)-(I). In addition, the defendant acknowledged that she

understood that she would be required to pay a mandatory $100.00 special assessment per felony

conviction count. See Rule 11(b)(1)(L).

       The defendant then acknowledged that she knew her plea, if accepted, would result in her

being adjudged guilty of a felony offense and that such adjudication may deprive her of valuable




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civil rights, such as the right to vote, the right to hold public office, the right to serve on a jury,

and the right to possess any kind of firearm.

       The defendant was informed, and she expressly acknowledged, that the court=s

determination of her sentence would include consideration of multiple factors, including: the

nature and circumstances of the offense; the defendant=s history and characteristics; the

seriousness of the offense; the need to promote respect for the law; the need to provide for just

punishment and afford adequate deterrence; the need to protect the public; any determined need

to provide the defendant with educational or vocational training, medical care or other

correctional treatment in the most efficient manner; the kinds of available sentences; the

pertinent sentencing guidelines and policy statements; the need to avoid unwanted sentence

disparities; and any need to provide for restitution. She also acknowledged that she understood

the court may order her to make full restitution to any victim and may require her to forfeit

certain of her property to the government. See Rule 11(b)(1)(J)B(K).

       The defendant testified that she and her attorney had talked about how the Sentencing

Commission Guidelines might apply to her case and the court=s obligation to calculate the

applicable sentencing-guideline range and to consider that range, possible departures under the

Guidelines and other factors under 18 U.S.C. ' 3553(a). See Rule 11(b)(1)(M). She stated that

she understood that the court will not be able to determine the recommended guideline sentence

for her case until after the pre-sentence report had been completed and she and the government

each had an opportunity to challenge the facts reported by the probation officer.

       The defendant then acknowledged that she knew the entry of a guilty plea constituted an

admission of all of the elements of a formal felony charge, and she knew that irrespective of any

sentence imposed by the court she would have no right to withdraw this guilty plea. See Rule

11(c)(3)(B). She acknowledged that she knew parole had been abolished and that she would not


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be released on parole. She further acknowledged that she knew and understood any sentence of

incarceration imposed by the court could include a period of supervised release, or could subject

her to deportation from this country. See Rule 11(b)(1)(H) and (O).

       Pursuant to the terms of the plea agreement [& C.1.], the defendant expressly

acknowledged that she understood that she was giving-up all of her waivable rights to appeal.

Likewise, pursuant to the terms of the plea agreement [& C.2.], she expressly acknowledged that

she understood she was similarly giving-up all of her waivale tights to challenge her conviction

or her sentence in any post-conviction proceeding.

       Her procedural rights surrendered on a plea of guilty were also explained: including, her

right to plead not guilty to any offense charged against her and her right to persist in any not

guilty plea; her attendant right to a trial by an impartial jury; her right to counsel to assist in her

defense; her presumption of innocence, the obligation of the government to prove her guilt

beyond a reasonable doubt, her right at trial to see, to hear, to confront, and to have cross-

examined all witnesses presented against her; her right to decline to testify unless she voluntarily

elected to do so in her own defense, her right to remain silent; her right to the issuance of

subpoenas or compulsory process to compel the attendance of witnesses to testify in her defense,

and her right to a unanimous jury verdict. See Rule 11(b)(1)(B)B(E). The defendant testified

that she understood her right to plead not guilty and the attendant trial rights that she would

waive by pleading guilty. See Rule 11(b)(1)(F).

       In direct response to further questioning, the defendant also testified that she was

pleading guilty to the offense charged in Count One because she had in fact engaged in the

criminal activity alleged against her in Count One of the Indictment.

                                     GOVERNMENT=S EVIDENCE




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       To permit the court to determine whether an independent basis in fact existed for the

defendant=s plea, counsel for the government made an oral proffer, which summarized the

essential facts the government was prepared to prove at trial. Therein, it was represented that

this case is the outgrowth of a “massive” conspiracy involving various co-defendants involved in

the distribution of heroin and “crack” cocaine in the Woodstock (.W.D.Va.) and Dumfries

(E.D.Va.) areas. During the period of the conspiracy (2011-2013), 100s of grams of heroin were

obtained from a source (“Mac’) in New York City (“NYC”). This source was introduced to co-

defendant Ronnie Jones in mid-2012 by another co-defendant (Kareem Shaw). In the fall of

2012 the defendant became a participant in co-defendant Jones’ drug distribution network in the

Woodstock area. At the time the defendant was using at least ½ gm. daily, including her own

use, she was purchasing approximately 8 grams daily. Over the time of her participation in the

conspiracy (approximately 210 days) the government estimates that she purchased, for her own

use and for resale, 1.6 kilograms of heroin. During this same period the defendant was aware

that co-defendant Jones was obtaining approximately 200 grams of heroin each week (a total of

approximately 5.6 kilograms), and on one occasion she went with co-defendant Jones to NYC

and met “Mac.”

       The defendant and her counsel each represented that the oral proffer fairly summarized

the the essence of the government=s case. See Rule 11(b)(3).

       After testifying that she had heard and understood all parts of the proceeding, the

defendant waived a reading of the Indictment. Upon being then called-upon for her plea, the

defendant entered a plea of GUILTY to Count One alleging her violation of Title 21 United

States Code, §§ 841(a)(1), 841(b)(1)(C) and 846).

       The clerk then read the written guilty plea form to the defendant; after acknowledging it

to be correct, the defendant executed it, and it was filed and made a part of the record.


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       After entering her plea of guilty and after an independent basis for the plea was

established, the defendant was again addressed personally. She reconfirmed that her decision to

plead guilty was fully voluntary and did not result from any force, threats, promises of leniency

or other inducement of any kind (other than that expressly set forth in the plea agreement). See

Rule 11(b)(2).   The defendant reconfirmed her complete satisfaction with the services and

assistance of her attorney, and she said he had been “very helpful” and that his help was

appreciated.

       The defendant was then informed that acceptance of the plea agreement and her guilty

plea would be recommended to the presiding district judge, that a pre-sentence report would be

prepared, that she would be asked to give information for that report, that her attorney may be

present if she wished, and that she and her attorney would have the right to read the pre-sentence

report and to file objections to it. The defendant did not request release, and she was remanded

to the custody of the United States Marshal pending preparation of the presentence report and

acceptance of her plea.

                                     FINDINGS OF FACT

       Based on the evidence, representations of counsel, and defendant=s sworn testimony

presented as part of the hearing, the undersigned submits the following formal findings of fact,

conclusions and recommendations:

           1. The defendant is fully competent and capable of entering an informed plea to the
              charge set forth in Count One of the Indictment;

           2. The defendant is fully aware both of the nature of the charge set forth in Count
              One of the Indictment and of the consequences of her guilty plea;

           3. The defendant is fully informed, and she understands the applicable enumerated
              items set forth in Rule 11(b)(1)(A)B(O);

           4. The defendant=s plea of guilty was made pursuant to a fully voluntary written plea
              agreement;


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           5. The defendant=s entry into the plea agreement and her tender of plea of guilty to
              Count One was made with the advice and assistance of counsel;

           6. The defendant knowingly and voluntarily entered her plea of guilty to Count One
              of the Information;

           7. The defendant=s plea of guilty did not result from force, threats, inducements or
              promises other those promises contained in the written plea agreement;

           8. The period of time during which the plea agreement is under consideration by the
              court is excludable from speedy trial computation (see 18 U.S.C. §
              3161(h)(1)(G));

           9. The plea agreement complies with the requirements of Rule 11(c)(1); and

           10. The evidence presents an independent basis in fact containing each essential
               element of the offense to which the defendant has entered a plea of guilty.

                              RECOMMENDED DISPOSITION

       Based on the above findings of fact, the undersigned RECOMMENDS that the court

accept the defendant=s plea of GUILTY to the offense charged in Count One of the Indictment

that she be adjudged guilty of said felony offense, and that a sentencing hearing be set for

February 4, 2015 at 10:00 a.m. before the presiding district judge.

                                     NOTICE TO PARTIES

       NOTICE is hereby given to the provisions of 28 U.S.C. ' 636(b)(1)(c): Within fourteen

(14) days after being served with a copy of this Report and Recommendation, any party may

serve and file written objections to such proposed findings and recommendations as provided by

the rules of court. The presiding district judge shall make a de novo determination of those

portions of the report or specified findings or recommendations to which an objection is made.

The presiding district judge may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the undersigned. The presiding district judge may also receive

further evidence or recommit the matter to the undersigned with instructions. A failure to file

timely written objections to these proposed findings and recommendations within fourteen


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(14) days could waive appellate review.

       The clerk is further directed to transmit a copy of this Report and Recommendation to all

counsel of record, and at the conclusion of the fourteen-day period the clerk is directed to

transmit the record in this matter to the presiding United States district judge.

       DATED: This 12th day of December 2014.



                                                       s/ James G. Welsh
                                                       United States Magistrate Judge




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